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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         No. 2:11-cr-0054 TLN CKD P
12                      Plaintiff,
13          v.                                         ORDER
14   MICHAEL BOLDEN,
15                      Defendant.
16

17          Defendant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct his sentence pursuant to 28 U.S.C. § 2255. Since defendant may be entitled to the

19   requested relief, IT IS HEREBY ORDERED that:

20          1. The United States shall file a response to the motion within 60 days. Defendant may

21   file a reply within 30 days of service of the response; and
22          2. The Clerk of the Court shall serve a copy of this order, together with a copy of

23   defendant’s motion, on the United States Attorney.

24   Dated: August 20, 2015
                                                      _____________________________________
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                                                      CAROLYN K. DELANEY
26                                                    UNITED STATES MAGISTRATE JUDGE

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